                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN

ROBIN VOS,

       Plaintiff,                                 Civil Action No.___________
v.

UNITED STATES HOUSE OF                            COMPLAINT FOR
REPRESENTATIVES              SELECT              DECLARATORY AND
COMMITTEE TO INVESTIGATE                    INJUNCTIVE RELIEF & MOTION
THE JANUARY 6TH ATTACK ON                         FOR TEMPORARY
THE UNITED STATES CAPITOL                       RESTRAINING ORDER
Longworth House Office Building
Washington, D.C. 20515

BENNIE G. THOMPSON, in his
official capacity as Chairman of the
House      Select    Committee    to
Investigate the January 6th Attack
on the United States Capitol,
Long Worth House Office Building
Washington, D.C. 20515

       Defendants.

      PLAINTIFF Speaker of the Wisconsin Assembly Robin Vos (Speaker Vos), by

and through his counsel, Graves Garrett LLC, Cramer, Multhauf & Hammes, LLP,

and Lawfair LLC, for his Complaint against Defendants United States House of

Representatives Select Committee to Investigate the January 6th Attack on the

United States Capitol (“Committee”) and Bennie G. Thompson, in his official capacity

as Chairman of the House Select Committee to Investigate the January 6th Attack

on the United States Capitol (Chairman Thompson), states and allege as follows:

      1.      This is an action to protect the Plaintiff from a Congressional subpoena

(the “Subpoena”) that imposes an undue burden, seeks to infringe on Speaker Vos’




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legislative immunity from civil process, lacks a lawful purpose, and was issued from

an unlawful Committee. Speaker Vos is the elected representative for Wisconsin’s

63rd Assembly District and has served as the Speaker of Wisconsin’s General

Assembly since 2013. The Committee has been conducting an investigation into the

events and causes of the breach of Capitol on January 6, 2021, for over 14 months.

Through this investigation the Committee claims to have interviewed over 1,000

individuals, gathered untold amounts of documents, held many public hearings, and

examined areas of inquiry ranging from the Ellipse Rally to legal theories and even

political advocacy by private citizens. Despite conducting such an extensive inquiry,

and despite having known for months about the single matter for which it seeks

Speaker Vos’ testimony, the Committee has served the Speaker on the afternoon of

Saturday, September 24, 2022, with a subpoena to appear for a deposition first thing

on the morning of September 26, 2022. This is less than 48 hours’ notice, and the only

intervening day was a Sunday.

      2.      The only explanation for such an extreme timeline is the Committee’s

desire to conduct the deposition before its next publicly televised hearing on

Wednesday, September 28, 2022, so that clips can be edited out to be used in a

multimedia show. Importantly, the Committee is not seeking to depose Speak Vos to

question him about the breach of the Capitol, the events leading up to January 6,

2021, or the events of the 2020 election. Rather, the Committee is seeking to depose

Speaker Vos, with no notice, to ask him about a conversation he had with former

President Donald Trump two months ago. In short, the Committee is demanding




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Speaker Vos appear for a deposition to answer questions irrelevant to the

Committee’s investigation, with virtually no notice, in the closing days of his

reelection campaign, merely because of the Committee’s public relations scheme.

      3.      This subpoena imposes an undue burden; violates Speaker Vos’

legislative immunity from civil process; falls outside of the matters the Committee

was authorized to investigate; and was not issued by a validly constituted committee.

Speaker Vos seeks a temporary restraining order (TRO) preventing Defendants from

enforcing the Subpoena while this matter is pending and judgment declaring that the

subpoena is invalid and permanently enjoining the Committee from enforcing it.

                                   THE PARTIES

      4.      Plaintiff Speaker Robin Vos is a resident of Rochester, Wisconsin. On

the afternoon of Saturday, September 24, 2022, he was personally served with a

subpoena (the “Subpoena”) from Defendant ordering him to appear for a deposition

first thing Monday morning, September 26, 2022, attached hereto along with the

transmittal letter as Exhibit A.

      5.      Defendant Select Committee is a committee created by H. Res. 503,

which was passed by the U.S. House of Representatives on June 30, 2021.

      6.      Defendant Bernie G. Thompson is a Member of the U.S. House of

Representatives and the Chairman of the Select Committee. The Subpoena

challenged herein was issued under his authority as Chairman of the Select

Committee.




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                              JURISDICTION AND VENUE

       7.       This case challenges the validity of a Subpoena issued by a body calling

itself the Select Committee to Investigate the January 6 Attack on the United States

Capitol. It raises claims regarding the burden imposed by the Subpoena, the scope of

the investigative power of Congress under Article I of the United States Constitution,

and the legislative immunity and privilege provided to state legislators under federal

common law.

       8.      The Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331,

as this action arises under the Constitution and laws of the United States, and 28

U.S.C. § 1346, because this action raises claims against the United States, as well as

28 U.S.C. § 2201-02, which provides for declaratory relief.

       9.      The Court has personal jurisdiction over Defendants Select Committee

and Chairman Thompson because they served Plaintiff with the Subpoena in this

district, which is also Plaintiff’s district of residence.

       10.      For the same reasons this Court has personal jurisdiction, venue in this

Court is proper under 28 U.S.C. § 1391(e)(1)(C).

                            BACKGROUND ALLEGATIONS

       11.     On January 6, 2021, a group of protesters breached the Capitol grounds,

entered the Capitol, and, by causing disorder, delayed the certification of the votes of

the electors for the 2020 presidential election by several hours.

       12.     On June 30, 2021, the House of Representatives passed H. Res. 503 (the

“Resolution”), hereto attached as Exhibit B, establishing “the Select Committee to

Investigate the January 6th Attack on the United States Capitol.” The Resolution


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was passed just two days after its introduction, with two Members caucusing with

Republicans voting “yea.”

      13.    Under Section 2(a) of the Resolution, “the Speaker shall appoint 13

Members to the Select Committee, 5 of whom shall be appointed after consultation

with the minority leader.” The Resolution also required that “[t]he Speaker shall

designate one Member to serve as chair of the Select Committee.” H. Res. 503 § 2(b),

117th Cong. (2021).

      14.    The Speaker appointed only 9 Members to the Select Committee. The

Speaker did not appoint any Members after consultation with the House Minority

Leader, Representative Kevin McCarthy. Rather, the Speaker appointed the only two

Members who currently caucus with the Republican Party and who had voted for the

Resolution. The Speaker failed to appoint any Member suggested by the House

Minority Leader.

      15.    The Speaker did not appoint a Ranking Member. The Select Committee

does not have a Ranking Member.

      16.    The Resolution identifies a total of three “purposes” of the Select

Committee. They are: (1) to “investigate and report upon the facts, circumstances,

and causes relating to the January 6, 2021 domestic terrorist attack on the United

States Capitol Complex … and relating to the interference with the peaceful transfer

of power, including the facts and causes relating to the preparedness and response of

[law enforcement and other instrumentalities of government], as well as the

influencing factors that fomented such an attack….”; (2) to “examine and evaluate




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evidence developed by relevant Federal, state, and local government agencies

regarding the facts and circumstances surrounding the domestic terrorist attack on

the Capitol and targeted violence and domestic terrorism relevant to such terrorist

attack”; and (3) to “build upon the investigations of other entities and avoid

unnecessary duplication of efforts by reviewing the investigations, findings,

conclusions, and recommendations of other [investigations] into the domestic

terrorist attack on the Capitol, including investigations into influencing factors

related to such attack.”

      17.    The Resolution identifies a total of three “functions” of the Select

Committee. They are: (1) to “investigate the facts, circumstances, and causes relating

to the domestic terrorist attack on the Capitol”; (2) to “identify, review, and evaluate

the causes of and the lessons learned from the domestic terrorist attack on the Capitol

regarding” various federal governmental operations; and (3) to “issue a final report

to the House containing such findings, conclusions, and recommendations for

corrective measures described in subsection (c) as it may deem necessary.”

      18.    Subsection (c) of Section 4 describes three categories of “corrective

measures”: “changes in law, policy, procedures, rules, or regulations that could be

taken” (1) “to prevent future acts of violence, domestic terrorism, and domestic violent

extremism, including acts targeted at American democratic institutions”; (2) “to

improve the security posture of the United States Capitol Complex while preserving

accessibility of the Capitol Complex for all Americans”; and (3) “to strengthen the




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security and resilience of the United States and American democratic institutions

against violence, domestic terrorism, and domestic violent extremism.”

      19.      The Select Committee has established a website that reports on its

proceedings and publishes statements by the Committee’s Speaker-designated

Members—that is, the Committee’s only Members. See https://january6th.house.gov/

      20.      The Select Committee held its first hearing on July 27, 2021. The Select

Committee has subsequently held eight additional hearings for a total of nine

hearings. The Select Committee has an additional hearing scheduled for September

28, 2022.

      21.      On Friday, September 23, 2022, the Select Committee’s Chair signed a

subpoena for Plaintiff’s deposition on September 26, 2022. See Exhibit A. A letter

signed by the Select Committee Chairman, which accompanied the subpoena, claims

that his testimony and documents are relevant because the Committee believes

former President Trump called Speaker Vos in July of 2022 after the Wisconsin

Supreme Court ruled dop-off boxes for absentee ballots outside of election offices could

not be used in future elections and requested Speaker Vos take future actions. The

Select Committee did not serve Plaintiff with the subpoena until the afternoon of

Saturday, September 24, 2022.

      22.      Throughout the entirety of the Committee’s investigation, Speaker Vos’

connection to the 2020 Presidential Election has been well known. It has not been a

secret that Speaker Vos was the Speaker of the Wisconsin Assembly during the 2020

Presidential Election; Wisconsin was a battleground state in the 2020 Presidential




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Election; Wisconsin’s procedures for the 2020 Presidential Election were the subject

of pre- and post-election litigation; and many people had concerns about election

irregularities concerning the 2020 Presidential Election in Wisconsin. All of these

facts were publicly known from the minute the Committee was formed on June 30,

2021.

        23.   The Committee has had over 14 months to investigate whatever

components of the Wisconsin 2020 Presidential Election that it viewed as relevant to

their investigation. Indeed, it has used its investigative powers to examine certain

aspects of the Wisconsin 2020 Presidential Election, including by subpoenaing

individuals involved in the Wisconsin 2020 Presidential Election in January of 2022.

        24.   Despite having over 14 months to conduct its investigation, the

Committee never contacted Speaker Vos or requested his deposition until recently.

Not only does the Committee suddenly want to depose Speaker Vos, but this matter,

which apparently was not important enough to warrant attention for months, is now

so urgent that the Committee needed to serve Speaker Vos in the middle of a weekend

for a deposition first thing on Monday morning.

        25.   Additionally, the subject that purportedly is causing the Committee to

act with such urgency is entirely outside of the Committee’s authorized scope. The

Committee does not want to depose Speaker Vos about the 2020 Presidential

Election. Rather, the Committee wants to depose Speaker Vos about conversations

he had with former President Trump in July of 2022, over eighteen months after

January 6, 2021.




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      26.    Conversations between Speaker Vos and former President Trump in

July of 2022 have no bearing on the events and causes of January 6, 2021. Further,

these conversations were publicly reported in July, yet the Committee chose to wait

for over two months to demand a deposition of Speaker Vos and now claims it cannot

even afford 48-hours’ notice.

      27.    The Committee’s actions in issuing the Subpoena to Speaker Vos

demonstrate the Committee has lost all sense of boundaries. The Committee no

longer believes the scope of its investigation is limited to the events of, or leading up

to, January 6th. Instead, it believes it has a roving commission to inquire of any

matter that piques its interest concerning former President Trump. The Committee

also does not believe it must consider the rights of the individuals it subjects to its

subpoenas. The Committee does not believe these individuals deserve any meaningful

notice. Finally, the Committee does not feel constrained by the principles of

federalism and legislative immunity, as it has decided to subpoena a sitting leader of

a state legislature about matters outside its authorization without meaningful notice.

Put simply, the Committee views itself as having a roving commission to examine

any matter involving its political adversaries that piques its interest without any

regard for the rights of the citizens subjected to its investigation. The Court must

quash this Subpoena and remind the Committee that it, like all other government

entities, is subject to limitations on its powers.




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                                   Count I
            (The Subpoena Imposes an Undue Burden on Speaker Vos)

      28.    Plaintiff repeats, re-alleges, and incorporates the allegations in

paragraphs 1–27 as if the same were set forth verbatim herein.

      29.    Serving Speaker Vos on Saturday afternoon with notice of a first-thing-

Monday-morning deposition subjects Speaker Vos to an undue burden because it does

not allow Speaker Vos and his counsel a reasonable time to prepare and comply.

      30.    Subpoenas should be quashed when they do not provide a reasonable

time to comply. Matter of Holsen, No. 22-MC-24-JPS, 2022 WL 3213367, at *1 (E.D.

Wis. Aug. 9, 2022) (citing Fed. R. Civ. P. 45(d)(3)(A)). Providing the subject of a

subpoena with fourteen days, after service is effectuated, for compliance is the

benchmark standard. Id. (citing Elliot v. Mission Tr. Servs., LLC, No. 14-CV-9625,

2015 WL 1567901, at *4 (N.D. Ill. Apr. 7, 2015)).

      31.    Here, the Committee’s own rules show that the minimum of notice is

three business days, exclusive of Saturdays and Sundays (unless the House happens

to be in session on those days). See Exhibit A, Regulations for the Use of Deposition

Authority for the 117th Congress, Rule 2 (providing that the Ranking Member and

other Committee members receive at least three days’ written notice before a

deposition, except in “exigent circumstances”). These are not exigent circumstances.

      32.    Providing Speaker Vos and his counsel with less than 48 hours to

comply—most of which consists of Sunday—is unreasonable. While such a minimal

timeframe to comply would be unreasonable in isolation, it is especially unreasonable

when viewed in light of all the circumstances surrounding this Subpoena. The



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Committee has had over 14 months to subpoena Speaker Vos and chose not to.

Further, the Committee has known of the conversation it wants to ask about for two

months. It has approximately three additional months remaining to subpoena

Speaker Vos. The Committee has had ample time to subpoena Speaker Vos and, in

fact, has ample time moving forward to subpoena Speaker Vos. Only providing

Speaker Vos with less than 48 hours to comply with the Subpoena is completely

unnecessary and unreasonable.

      33.    The true reason the Committee is only providing Speaker Vos with less

than 48 hours to comply with the Subpoena is its arbitrarily set hearing schedule. On

September 21, 2022, the Committee set September 28, 2022, as its next televised

hearing. For reasons only known to the Committee, it believes Speaker Vos’

deposition will generate interest for its self-described made-for-TV production. This

motivation is not justification for providing Speaker Vos without meaningful notice

of the Subpoena.

      34.    The Committee sets its own hearing schedule. It could have subpoenaed

Speaker Vos well in advance of the September 28th hearing, it could have postponed

the September 28th hearing, or it could schedule another hearing for a later date.

Rather than use any of these viable alternatives, the Committee instead chose to

deprive Speaker Vos of meaningful notice and a reasonable time to comply with the

Subpoena.

      35.    The Committee’s decision to deprive Speaker Vos of meaningful notice

and a reasonable time to comply only becomes more egregious when factors unique




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to Speaker Vos are examined. First, the Committee is well-aware Speaker Vos is in

the closing days of a hard-fought reelection battle. The Subpoena, without warning,

suddenly pulls Speaker Vos off the campaign trail, and in turn causing significant

interruption to his campaign schedule. Second, the Committee is also well-aware that

subpoenaing a sitting speaker of a state legislature implicates nuanced and complex

constitutional issues which necessitate careful legal counsel. The Committee is

attempting to deprive Speaker Vos of an opportunity to receive such counsel by

providing him virtually no notice of the Subpoena.

      36.    Additionally, any witness appearing before the Committee is subject to

prosecution for a false statement under 18 U.S.C. §1001. It is malpractice for an

attorney to allow a witness to appear and to attempt to defend his deposition without

prior consultation and preparation—something that would literally be impossible on

the current schedule.

      37.    Additionally, it is impossible for Speaker Vos to comply. He is given the

choice of appearing remotely, but the Subpoena he received Saturday contains no

link. Further, it is prohibitively expensive—if not impossible—to fly to Washington,

DC, on such short notice to appear at the Capitol.

      38.    The Subpoena is unreasonable because it provides less than 48 hours for

Speaker Vos to comply. This unreasonableness is only heightened by the absence of

justification for such an extreme lack of notice and the burden such lack of notice

imposes on Speaker Vos. This Court should quash the Subpoena as unreasonable and




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imposing an undue burden because it only provides Speaker Vos with less than 48

hours to comply.

                                   Count II
    (The Subpoena Violates Speaker Vos’ Legislative Immunity and Privilege at
                             Federal Common Law)

         39.   Plaintiff repeats, re-alleges, and incorporates the allegations in

paragraphs 1–38 as if the same were set forth verbatim herein.

         40.   Speaker Vos retains a common law legislative immunity from civil

process, and it applies in federal court. See Tenney v. Brandhove, 331 U.S. 367, 376

(1951) (applying the immunity to a civil suit against members of a California

legislative committee for their acts as legislators); Lake Country Ests., Inc. v. Tahoe

Reg'l Plan. Agency, 440 U.S. 391, 404 (1979) (holding that “the absolute immunity for

state legislators recognized in Tenney reflected the Court's interpretation of federal

law; the decision did not depend on the presence of a speech or debate clause in the

constitution of any State, or on any particular set of state rules or procedures

available to discipline erring legislators.”). This privilege exists for state legislators

at federal common law because the colonies and states first inherited it from the

English Parliament, which had fought for the privilege in its struggles with the

Crown during the English Civil War. Tenney, 331 U.S. at 372-375. It was eventually

ensconced in the English Bill of Rights. Id. Our federal Speech or Debate Clause—

not applicable here—is but one outpouring from this common law font. No less vital—

and applicable here—is the immunity for state legislators from civil process in federal

court.




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      41.    Here, that immunity should prohibit the effort of the Select Committee

to hale Speaker Vos before them to testify—under the threat of prosecution under 18

U.S.C. § 1001 for any false statement—regarding acts he took as a legislator years

after the event allegedly being investigated by the Committee.

      42.    To be sure, a line of authority applies only a qualified privilege, not an

absolute privilege, to efforts to cause legislators to testify in civil cases. See, e.g.,

American Trucking Associations, Inc. v. Alviti, 4 F.4th 76, 87-88 (1st Cir. 2021)

(finding that Rhode Island Speaker of the House and others were not required to

testify, and analogizing to United States v. Gillock, 445 U.S. 360 (1980), which held

that evidence of a Tennessee legislator’s legislative acts could be admitted at his

federal bribery trial because an important federal interest in enforcing criminal

statutes could overcome principles of comity that would otherwise protect state

legislators).1 However, this line of authority should not apply here, as this is neither

a civil nor a criminal proceeding in which the rules of civil or criminal procedure, the

scope of the pleadings and the indictment, and the superintendence of the court

provide some degree of regularity and protection for witnesses. Instead, this is a

committee investigation with few rules, and those that exist for regular committees

are not followed by this Committee, which lacks true minority representation. The

opportunity for harassment is substantial—for example, attempting to serve a




1See also Michigan State A. Randolph Institute v. Johnson , 2018 WL 1465767 (W.D.
Mich. Jan. 4, 2018) (applying qualified immunity and a five-part test, and quashing
subpoenas against legislators in civil rights action to the extent that the requested
materials would have fallen within the privilege).


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deposition subpoena over the weekend for a Monday deposition, when the committee

has known about the matters at issue for months.

      43.    More importantly, the opportunity for a mere committee of Congress to

punish and chill the operation of a state legislature is only too apparent. Committee

members could use the Congressional “investigative” power to target state legislators

for deposition testimony or document productions with almost no notice in the critical

days of a hard-fought election (as here), or worse, abruptly pull them from their duties

in a close and hard-fought committee or floor vote. An investigation could be used to

punish state legislators in the aftermath of votes that do not meet with the

committee’s approval.

      44.    State legislators have no means of redress aside from courts’ application

of their federal common law privilege. The resources of state legislators cannot

compare to that of the United States Congress. Nor is there a political remedy, as

state legislatures—let alone individual legislators—have no constitutional means of

politically checking or punishing congressional overreach. This subpoena, then,

squarely falls within the purpose of state legislators’ common law immunity, as the

Tenney court found it in the words of James Wilson, the Founder who served on the

committee that drafted the federal constitutional version:

      ‘In order to enable and encourage a representative of the public to discharge

      his public trust with firmness and success, it is indispensably necessary, that

      he should enjoy the fullest liberty of speech, and that he should be protected




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       from the resentment of every one, however powerful, to whom the exercise of

       that liberty may occasion offense.’

Tenney, 371 U.S. at 373. Members of Congress have state legislatures to thank for

bringing legislative immunity to this country and providing the basis for the federal

Speech or Debate Clause (id.). Now, under the federal common law, this Court should

ensure that they recognize those same protections for state legislators like Speaker

Vos.

                                       Count III
               (Subpoena Is Not Pertinent to the Authorized Inquiry)

       45.   Plaintiff repeats, re-alleges, and incorporates the allegations in

paragraphs 1–44 as if the same were set forth verbatim herein.

       46.   Congress’ power to investigate and issue subpoenas is not unlimited and

is subject to several limitations. Trump v. Mazars, 140 S.Ct. 2019, 2031, 207 L.Ed.2d

951, (2020). Most importantly, a congressional subpoena ‘“must be related to, and in

furtherance of, a legitimate task of the Congress.”’ Id. (quoting Watkins v. United

States, 354 U.S. 178, 187, 77 S.Ct. 1173, 1 L.Ed.2d 1273 (1957)). Congress cannot

issue a subpoena for the purpose of law enforcement or to expose for the sake of

exposure. Id. at 2032. Additionally, Congress does not have a ‘“general’ power to

inquire into private affairs and compel disclosures”’ and cannot conduct an

investigation ‘“solely for the personal aggrandizement of the investigators or to

punish those investigated.”’ Id.

       47.   The Select Committee’s supposed inquiry focuses on the events of

January 6th leading up to the Capitol breach, factors that may have caused



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individuals to enter the Capitol without permission, and the statutory process of

certifying states’ electoral votes.

       48.    The Select Committee does not seek to depose Speaker Vos about any of

these topics. Rather, the Select Committee wants to depose Speaker Vos about

conversations he had with former President Trump in July of 2022, more than 18

months removed from the events of January 6th and the certification of states’

electoral votes.

       49.    The Select Committee’s theory in deposing Speaker Vos about these

conversations is not clear. Speaker Vos’ conversations with former President Trump

pertained to a recently decided Wisconsin Supreme Court decision about Wisconsin

election law and any actions that could be taken in response to this decision moving

forward. These topics do not pertain to the events of January 6 th, or even (to construe

the authorizing resolution broadly) the events leading up to it or its immediate

aftermath. The Select Committee is not authorized to conduct a free-ranging inquiry

into any conversations former President Trump has, including conversations about

current events and future courses of action, which pique the Committee’s interest.

       50.    The deposition subpoena for Speaker Vos is not pertinent to the matters

the House assigned to the Select Committee. For this reason alone, the Subpoena

should be quashed.

                                   Count IV
 (Subpoena Is Invalid Because the Select Committee Is Not Properly Constituted)

       51.    Plaintiff repeats, re-alleges, and incorporates the allegations in

paragraphs 1–50 as if the same were set forth verbatim herein.



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      52.    The power of authorized congressional committees to issue subpoenas

arises by implication from Article I of the Constitution. McGrain v. Daugherty, 273

U.S. 135, 174 (1927).

      53.    The Select Committee, however, is not an authorized congressional

committee because it fails to comport with its own authorizing resolution, House

Resolution 503.

      54.    The Speaker of the House failed to appoint members consistent with the

authorizing resolution of the Select Committee. The Speaker has appointed only nine

members of Congress to serve on the Select Committee; whereas the authorizing

resolution instructs the Speaker “shall” appoint thirteen members. H. Res. 503 § 2(a),

117th Cong. (2021).

      55.    Further, of those nine Members the Speaker has appointed, none of

them were appointed after consultation with the Minority Leader, as is required by

Section 2(a) of the authorizing resolution.

      56.    The composition and membership of a purported committee, including

the Select Committee, is material to its power to act. A committee’s composition and

membership can determine the direction of an inquiry and can serve to check, or

temper, committee actions that could otherwise prove injurious to the operation of

the government or the rights of private citizens. A committee that, without any check,

exclusively serves the political purposes of one political party or faction is susceptible

to grave conditional error and overreach.




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      57.    Here, the Select Committee has embarked upon an investigation that

began with an inquiry into January 6th, but, in the absence of any tempering

influence from the opposition party, has transformed into a broad assault on the

Select Committee’s political opponents, including private citizens.

      58.    The Select Committee’s failure to ever become properly constituted is a

material violation of its authorizing Resolution. A private citizen aggrieved by a

material violation of House rules has a defense against compulsory process. In Yellin

v. United States, 374 U.S. 109, 114 (1963), the House Un-American Affairs Committee

failed to follow Rule IV, which required the committee to weigh certain considerations

and act upon the express request of Yellin, the witness, for executive session because

he believed his public testimony would harm his reputation. The Court held that

because the committee had not followed Rule IV, Yellin could not be convicted for

contempt of Congress for failing to answer questions about his political affiliation and

activities. It was not necessary to the Court’s decision in Yellin that the committee

would or should have granted Yellin’s request for private, executive session

testimony; the holding rests upon the committee’s failure to actually apply Rule IV

in considering his request. As Yellin shows, then, the House’s failure to follow a rule

is particularly significant where a person’s fundamental rights are involved. That is

the case here, where Speaker Vos is deprived of meaningful notice and is subject to

an infringement of his legislative immunity from civil service.

      59.    Thus, because the Select Committee is not a duly constituted Select

Committee under the applicable Resolution, it has no authority to act by issuing




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compulsory process against private entities and citizens. Chairman Thompson’s

Subpoena is invalid and unenforceable.

                              COUNT V
         (Temporary and Permanent Injunctive Relief is Warranted)

      60.     Plaintiff repeats, re-alleges, and incorporates the allegations in

paragraphs 1–59 as if the same were set forth verbatim herein.

      61.     “A temporary restraining order, as opposed to a preliminary injunction,

is   sought    and     heard    on    an    emergency      basis.   The     purpose    of

a temporary restraining order is to preserve the status quo pending the complete

briefing and consideration of a motion for a preliminary injunction.” Faust v. Vilsack,

519 F. Supp. 3d 470, 474 (E.D. Wis. 2021).

      62.     “In general, the showing required for a temporary restraining order and

a preliminary injunction are the same. Specifically, a plaintiff must show that ‘(1)

without this relief, it will suffer ‘irreparable harm’; (2) ‘traditional legal remedies

would be inadequate’; and (3) it has some likelihood of prevailing on the merits of its

claims.’” Id. (citing Speech First, Inc. v. Killeen, 968 F.3d 628, 637 (7th Cir. 2020) and

quoting Courthouse News Serv. v. Brown, 908 F.3d 1063, 1068 (7th Cir. 2018)).

      63.     Without a TRO, Speaker Vos will undoubtedly suffer irreparable harm.

Specifically, without relief from this Court, he faces the Hobson’s choice of: (1)

attending a high-profile and high-stakes Congressional Committee deposition

without preparation with counsel; or (2) risk being held in contempt of Congress.

      64.     As to the second factor, it is quite clear that traditional legal remedies

are inadequate.    Indeed, if the Select Committee were following its own Rules,



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traditional legal principles, and the rule of law, it would not serve a legislative leader

with a Saturday-afternoon subpoena seeking Monday-morning deposition. In short,

this subpoena is extraordinary, and it requires an extraordinary response.

      65.      Finally, Speaker Vos has not just some likelihood, but a high probability

of succeeding on the merits of his claims. As set forth above, (1) the Subpoena

imposed a burden that is not only “undue,” and in violation of Committee rules, but

that borders on the absurd; (2) Speaker Vos has absolute legislative immunity, and

the Select Committee may not interfere with his right to participate in the legislative

process; (3) the Select Committee is seeking testimony on a subject outside the scope

of its stated purposes as set forth in the authorizing Resolution; and (4) because the

Select Committee was not properly constituted, the Subpoena is invalid.

      66.      For these reasons, a TRO is appropriate.

      67.      A plaintiff seeking a permanent injunction must demonstrate: “(1) that

it has suffered an irreparable injury; (2) that remedies available at law, such as

monetary damages, are inadequate to compensate for that injury; (3) that,

considering the balance of hardships between the plaintiff and defendant, a remedy

in equity is warranted; and (4) that the public interest would not be disserved by

a permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391,

(2006).     “The decision to grant or deny permanent injunctive relief is an act of

equitable discretion by the district court, reviewable on appeal for abuse of

discretion.” Id.




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      68.    On the first factor, Speaker Vos will face irreparable harm if forced to

sit for an unlawful deposition notice issued by the Select Committee.

      69.    On the second factor, as set forth above, there is no traditional legal

remedy that could afford Speaker Vos relief. No amount of money can compensate a

legislative leader who is forced to knuckle-under and comply with an unlawful

Subpoena that imposes an undue burden, violates legislative immunity, and

contravenes principles of federalism and federal-state comity.

      70.    Third, the balance of equities favor Speaker Vos. The Select Committee

waited 14 months to seek testimony from Speaker Vos and two months after learning

of the single discussion for which it seeks to compel testimony. If it were serious

about needing his testimony, the Select Committee would not have waited until two

days before its final televised hearing to seek Speaker Vos’ testimony. In short, the

equities favor a permanent injunction against the Subpoena.

      71.    Fourth, and finally, the public interest would be served by quashing this

Subpoena. If a state legislative leader can be haled before Congress—on two days’

notice—anytime he receives a phone call from a former President, there is no limit to

the mischief a Congressional Committee could engage in, either for partisan purposes

or good old-fashioned harassment. The public has a decided interest in protecting

legislative leaders from being targeted for engaging in the political process.

      72.    Accordingly, a TRO and permanent injunction are warranted.




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                                  Prayer for Relief

       WHEREFORE, Plaintiff respectfully requests that this Court schedule a

hearing within 72 hours and, after such a hearing, impose a TRO preventing

Defendant from enforcing the Subpoena while this case is pending and, upon

resolution of this case, enter judgment in his favor and against the Defendants as

follows:


       1. A declaratory judgment that the Subpoena is invalid and unenforceable;

       2. A permanent injunction quashing the Subpoena;

       3. Plaintiff’s reasonable costs and expenses, including attorneys’ fees; and

       4. All other preliminary and permanent relief to which Plaintiff is entitled.




Dated: September 25, 2022



Respectfully submitted,



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